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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                8:05CR325
                              )
          v.                  )
                              )
SAMUEL SOTO-LOPEZ,            )                   ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised defendant wishes to enter a

plea.   Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Thursday, October 27, 2005, at 10 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

           DATED this 24th day of October, 2005.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
